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   —




                                    IN THE UNITED STATES DISTRICT COURT
   HN




                             NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
   WC




         CALIFORNIA COALITION FOR WOMEN
         PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
   FH




         G.M.; A.S.; and L.T., individuals on behalf of
         themselves and all others similarly situated,           CASE NO. 4:23-CV-04155-YGR
   wn




                                      Plaintiffs
   DB




                             v.
                                                                 DECLARATION OF ERIC SANCHEZ
   YN




         UNITED STATES OF AMERICA FEDERAL
         BUREAU OF PRISONS, a governmental entity;
   co




         BUREAU OF PRISONS DIRECTOR
         COLETTE PETERS, in her official capacity;
   Oo




         FCI DUBLIN WARDEN THAHESHA JUSINO,
         in her official capacity; OFFICER
   SC




         BELLHOUSE,               in his individual capacity;
         OFFICER GACAD,, in his individual capacity;
    KF




         OFFICER JONES, in his individual capacity;
O_o




         LIEUTENANT JONES, in her individual
 NY




         capacity; OFFICER LEWIS, in his individual
         capacity; OFFICER NUNLEY, in his individual
 W
Oe




         capacity, OFFICER POOL, in his individual
         capacity, LIEUTENANT PUTNAM, in his
    Ff
FOE




         individual capacity; OFFICER SERRANO, in
         his individual capacity; OFFICER SHIRLEY, in
A




         his individual capacity; OFFICER SMITH, in his
         individual capacity; and OFFICER VASQUEZ,
 HDH
FF




         in her individual capacity,
AQ
=




                                    Defendants.
fF
|&




         I, Eric Sanchez, hereby declare as follows:
 0
|




             1.    I started in BOP in January 2015 at Federal Correctional Institution at Marianna, Florida, as a
CGF
NO




                   correctional officer. I promoted to Special Investigative Services (SIS) technician in December
 |§
YB




                   2020 at United States Penitentiary (USP) Thomson, Illinois.    In September 2023, I promoted to
 NY
YB




                   Lieutenant at FCI Dublin. As lieutenant, I supervise the orderly operation of the institution, train
 WH
HBO




                   staff and help maintain the safety and security of the institution. As lieutenants, we rotate
 FBP
NYO




                   through SIS, Special Housing Unit (SHU) and the general housing units. Currently, I am the
 nH
NY




                   SHU Lieutenant and have served in this capacity for approximately two months.
Dn
NO




             2.    Inmate Rhonda Fleming, Register Number 20446-009, entered the Special Housing Unit on
NY
NO




                   January 31, 2024.
eo
N




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              3.    SHU staff placed Fleming in Cell 102.

              4.    Prior to RF’s placement in Cell 102, SHU staff reported possible mold and contacted the FCI
  NH




                    Dublin’s Safety and Occupational Health Specialist. Though there was no smell and out of an
  DW




                    abundance of caution, the Specialist treated Cell 102 with Sporicidin on January 29-30, 2024.
  ee




                    Following the second treatment on January 30, 2024, Cell 102 was ready for the next inmate
  AO




                    placement.   SHU staff did not have occasion to place anyone in that cell prior to Fleming’s
  BD




                    placement.
  NS




              5.    It is my understanding that Fleming’s cell was cleaned prior to her placement in the cell. There
  6




                    was no “human filth” from the previous occupant.
     Oo




              6.    Inmates may request cleaning supplies through SHU staff to clean their cells, if they deem
     CS




                    additional cell sanitation is required.
     KY
FE




              7.    When Fleming was notified of her placement to SHU, she announced her intention to start a
     NH




                    hunger strike. When she entered the SHU on January 31, 2024, Fleming announced she was on
  Ww
Fe




                    hunger strike prior to her entering the SHU range that housed Cell 102. She never
  FH
FS




                    communicated to me that the reason for the hunger strike was the condition of the SHU.         She
YF
  A




                    told me that the reason for the hunger strike was that she hadn’t received her radio and watch
  DH
YF




                    without metal backing.
  NH
§-




              8.    Within 48 hours, nine inmates committed to joining her on the hunger strike. Eight of those nine
  DH
§|-




                    inmates missed at least nine consecutive meals.
  OO
-|-




              9.    After Fleming missed nine meals, I asked her whether she wanted to go to the medical
  DT
NO




                    observation room for close monitoring as outlined in BOP policy, but Fleming refused to be
  FK§
NO




                    moved from the SHU because she told me that she didn’t want to be deprived of her radio when
  NH
NY




                    her property was inventoried.
  WO
HD




              10. There were no issues with the heat in the range that housed Fleming’s cell.
  FF
NY




              11. Though policy only requires one blanket, we provide every SHU inmate with two blankets
  UW
HO




                    during the winter months.
  Dn
BR




              12. Fleming did not complain there was standing water/puddles on her cell floor. SHU staff would
  nN
NY




                    have provided towels or moved Fleming to another cell had Fleming indicated an issue with
  oo
NO




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           standing water/puddles.

     13. Condensation does gather in the SHU if the range’s temperature gauge is turned too high while

           the inmates in that SHU range use the shower.     Condensation can also gather on the concrete

           walls if the outside temperature is cold, and the inside temperature is warm.    The ranges

           generally have increased humidity, but this does not cause standing water/puddles.

     14. During the Court’s tour of SHU, I showed Judge Gonzalez Rogers the hygiene kits available to

           the SHU inmates.   During Fleming’s time in SHU from January 31, 2024, through February 6,

           2024, all hygiene items were fully stocked and available, except shampoo.       Though SHU never

           ran out of shampoo, it was rationed during those days until a new shipment arrived. As        Judge

           Gonzalez Rogers witnessed during the tour, the shampoo is now fully stocked.

           I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true and

correct.




           Executed this 23rd day of February 2024 at Dublin, California.




                                                         Gee       anne
                                                         S       ieutenant
                                                         Federal Correctional Institution, Dublin, CA




DECLARATION OF ERIC SANCHEZ
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